      Case 2:15-cv-04424-AG-AJW Document 433 Filed 09/19/17 Page 1 of 1 Page ID #:19773

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                           CIVIL MINUTES - TRIAL

 Case No.         CV 15-4424-AG(AJWx)                                                                       Date        September 19, 2017
 Title:           ATEN INTERNATIONAL CO, LTD v UNICLASS TECHNOLOGY CO, LTD, ET AL

 Present: The Honorable            ANDREW J. GUILFORD
                           Lisa Bredahl                                                                    Miriam Baird
                           Deputy Clerk                                                         Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                              Attorneys Present for Defendants:
 Philip Riley, Mark Freeman, Manni Li, Irene Chen, Larry
                         Sandell                                                        Jen-Feng, Eric Wood, Joseph Pia, Robert Aycock

                             Day Court Trial                        1st                   Day Jury Trial
                                               st
           One day trial:     X     Begun (1 day);         X      Held & Continued;               Completed by jury verdict/submitted to court.
 X    The Jury is impaneled and sworn.
      Opening statements made by                      each side
      Witnesses called, sworn and testified.              Exhibits Identified             Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                  defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                  defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
      Filed Witness & Exhibit Lists                       Filed jury notes.             Filed jury instructions.
      Judgment by Court for                                                             plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                         plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is           granted.             denied.           submitted.
      Motion for mistrial by                                                     is           granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                    is           granted.             denied.           submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
  x Case continued to           September 20, 2017 at 9:00 a.m                              for further trial/further jury deliberation.
 X    Other:      Opening jury instructions are given.

                                                                                                                      5         :          05

                                                                                Initials of Deputy Clerk
cc:


CV-96 (06/06)                                                  CIVIL MINUTES - TRIAL                                                            Page 1 of 1
